Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 1 of 9

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
STRIKE 3 HOLDINGS, LLC, )
)
Plaintiff, )
)

v. ) Civil Case No. 18-1425
)
JOHN DOE subscriber assigned )
IP address 73.1_80.154.14, )
)
Defendant. )
)

MEMORANDUM OPINION

 

Strike 3 Holdingsz LLC produces “award winning, critically acclaime_d adult motion
pic`tureS.” Compl. 11 2. Or, as` the Miami Herala' describes,' it is “[t]he Steven Spi`elberg of porn.”
Adiel Kaplan, T he Steven Spielberg of Porn Sues to Make Florl`dians Stop Pirating His Raunchy
Videos, Miami Herald (July 12, 2018, 4:48 PM), https://www.miamiherald.com/news/local/
article214634930.html.

Strike 3 is also a copyright troll. Its swarms of lawyers hound people who allegedly
watch their content through Bittorrent, an online service enabling anonymous users to share
videos despite their copyright protection. Since Bittorrent masks users’ identities, Strike 3 can
only identify an infringing Internet protocol (IP) address, using geolocation technology to trace
that address to a jurisdiction. This method is famously flawed: virtual private networks and onion
routing spoof IP addresses (for good and ill); routers and other devices are unsecured; malware
cracks passwords and opens backdoors; multiple people (family, roommates, guests, neighbors,
etc.) share the same IP address; a geolocation service might randomly assign addresses to some

general location if it cannot more specifically identify another. See, e.g., James Temple, Lawsuit

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 2 of 9

Says Grandma lllegally Downloade§l Porn, S.F. Chron. (July l5, 2011, 4:00 AM), https'://
www.sfgate.com/business/article/Lawsuit-says-grandma-illegally-downloaded-porn-

23 54720.php. Simply put, inferring the person who pays the cable bill illegally downloaded a
specific file is even less trustworthy than inferring they watched a specific TV show. But in
many cases, the method is enough to force the Internet service provider (ISP) to unmask the IP
address’s subscriber. And once the ISP outs the subscriber, permitting them to be served as the
defendant, any future Google search of their name will turn-up associations with the websites
Vixen, Blacked, Tushy, and Blacked Raw. The first two are awkward enough, but the latter two
cater t`o even more singular tastes.

` Little wonder so many defendants settle. lndeed, the copyright troll_’s success rate comes
not from the Copyright Ac`t, but from the law of larg`e numbers. According to PACER, over the
past thirteen months, Strike 3 has filed 1849 cases just like this one in courts across the
country-forty in this district alone_closely following the copyright trolls who together
consumed 58% of the federal copyright docket in 2015. These serial litigants drop cases at the
first sign of resistance, preying on low-hanging fruit and staying one step ahead of any
coordinated defense. They don’t seem to care about whether defendant actually did the
infringing, or about developing the law. If a Billy Goat Gruff moves to confront a copyright troll
in court, the troll cuts and runs back under its bridge. Perhaps the trolls fear a court disrupting
their rinse-wash-and-repeat approach: file a deluge of complaints; ask the court to compel
disclosure of the account holders; settle as many claims as possible; abandon the rest. See
Matthew Sag & Jake Haskell, Defense Against the DarkArts of Copyright Trolling, 103 Iowa L.

Rev. 571, 575-80 (2018); see also infra text accompanying notes l-4.

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 3 of 9

Here, that approach led Strike 3 astray. Because Strike 3’s need for discovery does not
outweigh defendant’s privacy expectation, the Court will deny Strike 3’s ex parte motion to
subpoena defendant’s ISP to discover defendant’s identity prior to the 26(f) conference That
sunders Strike 3’s entire case, since a failure to identify defendant makes effectuating service
impossible So the Court will dismiss this case without prejudice

I. Strike 3 cannot subpoena defendant’s ISP because its discovery request lacks sufficient
specificity and does not overcome defendant’s privacy expectation.

Strike 3’s request for early discovery falls short of Rule 26’s requirements A plaintiff
can only discover an unknown defendant’s identity through a court order under Kule 26(d)(l).
But the rule cabins a district court’s discretion to order discovery to circumstances where a

plaintiff shows good cause. See Fed. R. Civ. P.' 26(b)(l). And to show good cause, the D.C.
Circuit requires establishing likely personal jurisdiction AF Holdings, LLC v.` Does 1-1058, 752
F.3d 990, 995 (D.C. Cir. 2014).» Here, Strike 3 clears that hurdle. See id. at 996 (suggesting using
geolocation services to track an infringing IP address to D.C. justifies a good-faith belief this
court has personal jurisdiction)§

Yet the D.C. Circuit never said that Was the only requirement For one, the Court must
also balance Strike 3’s need for discovery with a potentially-noninfringing defendant’s right to
be anonymous Only the Second Circuit has articulated this balance, looking to the plaintiffs
showing of a prima facie claim of actionable harm; their discovery request’s specificity; their
alternative means to obtain the subpoenaed information; the need for the subpoenaed information
to advance the claim; and the objecting party’s privacy expectation. Arista Recora's, LLC v. Doe
3, 604 F.3d 110, ll9 (2d Cir. 2010) (citing Sony Music Entm ’t Inc. v. Does 1-40, 326 F. Supp. 2d

556, 564-65 (S.D.N.Y. 2004) (Chin, J.)); see also, e.g., Call of the Wz'la' Movz'e, LLC v. Does 1-

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 4 of 9

],()62,l 770 F. Supp. 2d 332, 351 (D.D.C. 2011) (Howell, J.) (applying this test); Arista Records
v. Does 1-]9, 551 F. Supp. 2d l, 8 (D.D.C. 2008) (Kollar-Kotelly, J.) (same).

One can hardly blame the D.C. Circuit for its silence. Of the forty cases Strike 3 has filed
in this district (including seven on a single day), none have reached the Court of Appeals ‘
Twenty-two have been voluntarily dismissed, all but one following the same formula: Strike 3
files a complaint (identical in every case except for the infringing IP address). A few weeks later,`
Strike 3 files a motion to subpoena the anonymous defendant’s ISP prior to the Rule 26(f)
conference (identical in every case except for the particular ISP to be served_Comcast, Verizon,
or` RCN). Satisfied by Strike 3’s showing of likely personal jurisdiction, the court grants the
motion, usually providing at least twenty days for the defendant to move to quash the subpoena,‘
and sometimes providing for defendant’s continued anonymity. Nothing happens for a few
weeks, and then Strike 3 voluntarily dismisses the suit.l In the lone exception, Civil Case No. 18-
810, the defendant successfully obtained the court’s approval to proceed anonymously, and
appeared to be preparing a responsive pleading_but Strike 3 dropped the case. The eighteen
pending cases are no different: in twelve, the judge recently granted the early discovery motion
and Strike 3 is waiting for the ISP to respondz; in five, Strike 3’s early discovery motion remains
pending3; and in one, Strike 3 hasn’t yet filed its discovery motion.4 This sounds crazy, but its

par for the copyright-trolling course. According to PACER, Malibu Media, LLC--'another adult

 

1 Civil_Case Nos. 17-2338,‘17-2342, 17-2344, 17-2345, 17-2346, 17_-2347, 18-536, 18-537 (allowing defendant to
anonymously move to quash), 18-804, 18-805 (allowing defendant to move to proceed anonymously), 18-806, 18-
807 (requiring the defendant’s anonymity until further court order), 18-808, 18-1193, 18-1197 (prohibiting Strike 3
or the ISP from publicly revealing the defendant’s identity), 18-1 199 (allowing defendant to move to proceed
anonymously), 18-1424, 18-1426, 18-1430, 18-1432, 18-1894.

2 Civil Case Nos. 18-1192 (allowing defendant to move to proceed anonymously), 18-1198 (allowing defendant to
move to proceed anonymously), 18-1427, 18-1429, 18-1431, 18-1898 (requiring the defendant’s anonymity until
further court order), 18-1899, 18-1902, 18-1903 (allowing defendant to move to proceed anonymously), 18-1904
(requiring the defendant’s anonymity until further court order), 18-2205, 18-2206.

3 Civil Case Nos. 18-1425 (this case), 18-2204, 18-2210, 18-2211, 18-2212.

4 C`ivil Case No. 18-1896.

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 5 of 9

film company_filed 150 cases against anonymous defendants in this district (71$3 nationally)
from 2012 to 2018, some joining dozens of individuals How many of those cases reached the
Court of Appeals? Zero.

Although the D.C. Circuit has never had the chance to elaborate on its test, the
undersigned considers the Second Circuit’s test very persuasive And not for nothing, it comports
with the D.C. Circuit’s more general observation that, when evaluating good cause under Rule
26, “interests in privacy may call for a measure of extra protection” In re Sealed Case (Medical
Records), 381 F.3d 1205, 1215 (D.C. Cir. 2004) (intemal quotation marks omitted) (quoting Fed.
`R. Civ.~ P. 26(b) advisory`committee’.s note (1970))`. “Moreover, in determining which interests to
`weigh in the Rule 26 balance, courts look to statutory confidentiality provisions, even if they do
not create enforceable privileges.” Ia'. at 1215-16. In this case, the Cour`t looks to the
Communications Act, which protects cable subscribers’ names and addresses 47 U.S.C. §
551(c). But cf id. at (c)(2)(B) (providing for disclosure “pursuant to a court order authorizing
such disclosure, if the Subscriber is notified of such order by the person to whom the order is
directed”).

Applying the Second Circuit’s test, and placing great weight on defendant’s privacy
expectation, the Court will deny Strike 3’s motion for early discovery. To be sure, Strike 3’s
alleged ownership of an infringed copyright sets forth a prima facie claim. So too is the
requested information necessary to advance Strike 3’s claim, just as subpoenaing the ISP is
necessary to get the information

v But Strike 3 ’s request lacks the type of specificity the Second Circuit’s test requires: that
the request will identify a copyright infringer who can be sued. See Sony Musz'c, 326 F. Supp. 2d

at 566; see also S00 Park v. Thompson, 851 F.3d 910, 928 n.21 (9th Cir. 2017) (“[I]n

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 6 of 9

circumstances ‘where the identity of alleged defendants Will not be known prior to the filing of a
complaint . . . the plaintiff should be given an opportunity through discovery to identify the
unknown defendants, unless it is clear . . . that the complaint would be dismissed on other
grounds.`”’ (quoting Gillespie v. C'iviletti, 629 F.2d 637, 642-43 (9th Cir.' 1980))). Strike 3 could
not withstand a 12(b)(6) motion in this case without resorting to far more intensive discovery
machinations sufficiently establishing defendant did the infringing'-examining physical
evidence (at least the computers, smartphones, and tablets of anyone in the owner’s house, as
well as any neighbor or houseguest who shared the Internet), and perhaps even interrogatories
document requests, or depositions Strike 3’s requested subpoena thus will`not_and may
never-identify a defendant Who could be sued. `

Similarly,`even though “defendants `have little expectation of privacy in downloading and
distributing copyrighted [content] without permission,” Sony Music, 326 F. Supp. 2d at 566-67,
Strike 3 fails to give the Court adequate confidence this defendant actually did the infringing
Given this uncertainty, Strike 3 cannot overcome defendant’s Weighty privacy expectation
Imagine having your name and reputation publicly_and permanently-connected to websites
like Tushy and Blacked Raw. (Google them at your own risk.) How would an improperly accused
defendant’s Spouse react? His (or her) boss? The head of the local neighborhood watch? The
risks of a false accusation are real; the consequences are hard to overstate and even harder to
undo. And Strike 3’s flawed identification method cannot bear such great weight. Defendant may
not be entitled to the same presumption of innocence a criminal defendant enj oys, but the Court
remains uncomfortable publicly presupposing defendant partook in particularly prurient

pornography given defendant’s tenuous connection to the infringement Since Strike 3’s

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 7 of 9

discovery request lacks the required specificity and does not overcome defendant’s privacy
expectation, the Court will deny Strike 3’s motion for early discovery.

Though Strike 3 admits a protective order could allow defendant to anonymously
challenge the subpoena, Br. at 8, that hardly seems fair. That drags defendant into court and
foists on them the unenviable burden of hiring a lawyer or defending their reputation pro se, all
before they’ve even been served. That’s not how our system of litigation is supposed to work.
Moreover, the inconsistency with which courts permit defendants to proceed anonymously
illustrates the ineffectiveness of this shield more generally. See supra notes 1-.2 and
accompanying text. `

An honest copyright holder might balk` at this result, misunderstanding it to slash 4
congressionally endowed defenses against increasingly creative an`d covert cyberpirates. But` the
typical case does not involve pornography,5 nor is this even run-of-the-mill porn. By extension,
two factors limit today’s holding. First is this content’s aberrantly salacious nature. Second is the
legion pitfalls associated with Strike 3’s tracking and identification of infringers Given these
high stakes_unlikely to appear in more typical cases_the Court will not accept the risk of
misidentification Maybe someday someone will show the Court a method to identify infringers
with sufficiently less risk of false accusations But because Strike 3 fails to do so here, it cannot

subpoena defendant’s ISP.

 

5 The Court notes “it is unsettled in many circuits”_including this one_.“Whether pornography is in fact entitled to
protection against copyright infringement.” Liberty Media Holdings, LLC v. Swarm Sharing Hash File, 821 F. Supp.
2d 444, 447 (D. MaSS. 2011); see also Next Phase Distb., Inc. v. John Does ]-27, 284 F.R.D. 165, l7l (S.D.N.Y.
2012) (“[I]f the Motion Picture is considered obscene, it may not be eligible for copyright protection.”). But see
Jartech, Inc. v. Cloncy, 666 F.2d 403, 406 (9th Cir. 1982) (extending copyright protection to pornography); Mitchell
Brothers Film Group v. Cinema Adult Theater, 604 F.2d 852, 854-58 (Sth Cir. 1979) (same).

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Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 8 of 9

II. Because Strike 3 cannot effectuate service Without subpoenaing defendant’s ISP, its
case must be dismissed. ' `

Denying Strike 3’s discovery motion dooms its claim. Simply put, Strike 3’s inability to
identify defendant makes effectuating service or prosecuting the case impossible So because
Strike 3 cannot proceed with its claim, the Court dismisses it.

Strike 3 does not dispute this logic. It concedes “[d] efendant must be identified before
this suit can progress.” See_ Br. at 5-6 (intemal quotation marks omitted) (quoting Malibu Media,
LLC v. Doe, 177 F. Supp. 3d 554, 556 (D.D.C. 2016)). But “[w]ithout information from the ISP,”
Strike 3 admits it cannot “correlate the [infringing] IP address to its subscriber and identify
Defendant as the person assigned the IP address” Br. at 6 (intemal quotation marks omitted)
(quoting Strike 3 Holdings v. Doe, No. 17-1680, 2017 WL 5001474, at *4 (D. Conn Nov. 1,
2017)). And so Strike 3 “cannot name an`d serve those whom they allege to have infringed upon
their copyrights” Br. at 6 (internal quotation marks omitted) (quoting C~all of the Wila' Movie,
LLC, 770 F. Supp. 2d at 352-53).

Strike 3’s lone rebuttal points out that “courts have rejected the dismissal of suits against
unnamed defendants . . . until the plaintiff has had some opportunity for discovery to learn [the
defendants’] identities.” Br. at 6 (alterations in original) (internal quotation marks omitted)
(quoting Davis v. Kelly, 160 F.3d 917, 921 (2d Cir. 1998)); see also Br. at 6 (quoting Malibu
Mea'ia, LLC v. Doe, No. 15-986, 2015 WL 5173890 at *1 (D.D.C. Sept. 2, 2015)). But as this
opinion has already explained, this case is exceptional, limited as_ Part I describes Because_ Strike
3 chases a dead-end, the Court will deny as moot Strike 3’s motion to extend the service deadline

and dismiss the case.

Case 1:18-cv-01425-RCL Document 5 Filed 11/16/18 Page 9 of 9

III. Conclusion

Arrned with hundreds of cut-and-pasted complaints and boilerplate discovery motions,
Strike 3 floods this courthouse `(and others around the country) with lawsuits smacking of
extortion It treats this Court not as a citadel of justice, but as an ATM. Its feigned desire for
legal process masks what it really seeks: for the Court to oversee a high-tech shakedown This
Court declines

The Court denies Strike 3’s ex parte motion [3] for discovery prior to the Rule 26(f)
conference Since this makes serving the defendant impossible, the Court denies as moot Strike
3’s motion [4] extending time'to effectuate service and dismisses the case Without prejudice An

accompanying order will issue

Date; November _/@, 2018 24 €. w

RoSr/ce C.~Lamberth
United States District Judge

